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                                 EXHIBIT A

                         (Oversight Board Resolutions)
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RESOLUTIONS ADOPTED AT THE SEVENTH PUBLIC MEETING OF THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO HELD ON APRIL 28, 2107 IN NEW YORK, NEW YORK



                               RESOLUTION #1



Between the adjournment of this meeting and the opening of the Board’s next public meeting, the
Board may consider in executive session any and all matters that it is authorized to consider under
PROMESA, including (1) any certification determinations authorized by PROMESA, including
certification determinations under Section 206 of PROMESA, and (2) any filings authorized under Title
III of PROMESA, in each case that are set forth as part of the vote to convene such executive
session. The Board may also act by unanimous written consent between meetings in accordance with
the Bylaws, with such consent to include consent by email.



                               RESOLUTION #2



WHEREAS, on June 30, 2016, the federal Puerto Rico Oversight, Management, and Economic Stability
Act (“PROMESA”) was enacted; and

WHEREAS section 101 of PROMESA created the Financial Oversight and Management Board for Puerto
Rico (“the Board”); and

WHEREAS section 201 of PROMESA establishes a multi-step procedure for the development, review,
and approval of fiscal plans for covered territorial instrumentalities, requiring that (i) the proposed
fiscal plans be submitted to the Board; (ii) the Board must review the proposed plans and determine
either that it satisfies PROMESA’s requirements or that it does not, in which case, the Board must
issue a notice of violation and recommended revisions giving an opportunity to correct the violations;
(iii) revised proposed plans be then submitted to the Board; and (iv) if there is a failure to submit
timely a proposed plan the Board determines in its sole discretion satisfies PROMESA’s requirements,
the Board shall develop and submit to the Governor and the Legislature its own compliant fiscal plan;
and

WHEREAS, on March 13, 2017, the Board announced that it had received a proposed fiscal plan for
Government Development Bank for Puerto Rico (GDB); and

WHEREAS, after reviewing the proposed plan with the Governor’s representatives and analyzing and
deliberating over it with the Board’s members, economist, consultants, and attorneys, the Board
recommended revisions to the same and gave the Governor’s representatives the opportunity to
revise the proposed fiscal plan; and

WHEREAS representatives of the Governor and the Board’s experts, consultants, and attorneys
engaged in extensive discussions about the proposed fiscal plan and the Board’s concerns about the
plan, resulting in further changes incorporated into the proposed plan; and
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WHEREAS, on April 28, 2017, the Board held an open meeting at which the Governor’s representatives
presented the final proposed fiscal plan to the Board and the public; and

WHEREAS the Board has had the opportunity to consider the latest proposed plan and discuss it with
its experts, consultants, and attorneys, and believes that the plan complies with PROMESA; and

WHEREAS the Board provided an opportunity for public comment on the proposed fiscal plan; and

WHEREAS, after substantial deliberations, the Board has determined to approve and certify the latest
proposed fiscal plan; and

NOW, THEREFORE, IT IS HEREBY RESOLVED THAT the Board approves and certifies the latest proposed
fiscal plan for GDB pursuant to PROMESA § 201(e); and it is

FURTHER RESOLVED that the Board shall issue a compliance certification for such fiscal plan to the
Governor and the Legislature pursuant to PROMESA § 201(e).



                                RESOLUTION #3



WHEREAS, on June 30, 2016, the federal Puerto Rico Oversight, Management, and Economic Stability
Act (“PROMESA”) was enacted; and

WHEREAS section 101 of PROMESA created the Financial Oversight and Management Board for Puerto
Rico (“the Board”); and

WHEREAS section 201 of PROMESA establishes a multi-step procedure for the development, review,
and approval of fiscal plans for covered territorial instrumentalities, requiring that (i) the proposed
fiscal plans be submitted to the Board; (ii) the Board must review the proposed plans and determine
either that it satisfies PROMESA’s requirements or that it does not, in which case, the Board must
issue a notice of violation and recommended revisions giving an opportunity to correct the violations;
(iii) revised proposed plans be then submitted to the Board; and (iv) if there is a failure to submit
timely a proposed plan the Board determines in its sole discretion satisfies PROMESA’s requirements,
the Board shall develop and submit to the Governor and the Legislature its own compliant fiscal plan;
and

WHEREAS, on March 13, 2017, the Board announced that it had received a proposed fiscal plan for
Puerto Rico Highways and Transportation Authority (HTA); and

WHEREAS, after reviewing the proposed plan with the Governor’s representatives and analyzing and
deliberating over it with the Board’s members, economist, consultants, and attorneys, the Board
recommended revisions to the same and gave the Governor’s representatives the opportunity to
revise the proposed fiscal plan; and

WHEREAS representatives of the Governor and the Board’s experts, consultants, and attorneys
engaged in extensive discussions about the proposed fiscal plan and the Board’s concerns about the
plan, resulting in further changes incorporated into the proposed plan; and
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WHEREAS, on April 28, 2017, the Board held an open meeting at which the Governor’s representatives
presented the final proposed fiscal plan to the Board and the public; and

WHEREAS the Board has had the opportunity to consider the latest proposed plan and discuss it with
its experts, consultants, and attorneys, and believes that, with certain amendments, the plan complies
with PROMESA; and

WHEREAS the Board provided an opportunity for public comment on the proposed fiscal plan and on
the Board’s recommended modifications to such fiscal plan; and

WHEREAS, after substantial deliberations, the Board has determined to approve and certify the latest
proposed fiscal plan, as modified by the following amendments:

HTA Amendment No. 1:

   •   The fiscal plan must address the sustainability of HTA by asset: The current plan does not
       portray the sustainability of HTA’s assets separately. The financials and measures of the
       highway and transportation assets should be set out separately in the fiscal plan to
       adequately address the profitability of each before and after the implementation of fiscal
       measures.

HTA Amendment No. 2:

   •   The fiscal plan must adopt more aggressive measures for the transit system that will address
       its current losses: The Tren Urbano chapter of the fiscal plan must include material demand
       inducement and cost efficiency measures that allow the train to target a fare box recovery
       ratio in line with heavy rail systems on the mainland (35-60%). The plan must also propose
       revenue enhancement measures for the train system. If the aforementioned measures by
       themselves are not sufficient to achieve sustainability, the plan should also address the
       separation of Tren Urbano from HTA as a way to enhance profitability and turn around the
       train system.

HTA Amendment No. 3:

   •   The fiscal plan must include a proposal to conduct further analysis on the cost-benefit of
       different options for corporatization, including, for example, Project-specific P3s;
       Corporatization of specific parts of the system (i.e. assigning responsibility for management
       and operation to a separate body, to run an asset in a more businesslike way ); Privatization of
       the transit system or Tren Urbano and maintenance of the Highway Authority as a
       government agency; Corporatization of HTA and transit as separate entities; Full privatization.

HTA Amendment No 4:

   •   The fiscal plan must address how the terms and Board selection process for the HTA Board will
       be revised to ensure that the terms are independent of political cycles and that board
       member selection is independent.
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HTA Amendment No. 5:

The fiscal plan must clearly outline how proposed overhead savings intersect with the
Commonwealth’s Right Sizing targets and identify differences in revenue projections between the HTA
plan and the Commonwealth Plan.

HTA Amendment No. 6:

   •    The fiscal plan must require the exploration and quantification of the impact of additional
        revenue enhancement measures on the highway system (e.g. toll credit monetization).

Implementation Plan and Revised Fiscal Plan:

The Government shall present to the Board a plan to implement the above amendments by no later
than 30 days from the date of adoption of said amendments and a revised fiscal plan that complies
with the measures described in said amendments no later than 15 days thereafter, which revised
fiscal plan shall be subject to the Board's approval; and



NOW, THEREFORE, IT IS HEREBY RESOLVED THAT the Board approves and certifies the latest proposed
fiscal plan for HTA pursuant to PROMESA § 201(e), as modified by the amendments described above;
and it is

FURTHER RESOLVED that the Board shall issue a compliance certification for such fiscal plan, as
amended, to the Governor and the Legislature pursuant to PROMESA § 201(e).



                                RESOLUTION #4



WHEREAS, on June 30, 2016, the federal Puerto Rico Oversight, Management, and Economic Stability
Act (“PROMESA”) was enacted; and

WHEREAS section 101 of PROMESA created the Financial Oversight and Management Board for Puerto
Rico (“the Board”); and

WHEREAS section 201 of PROMESA establishes a multi-step procedure for the development, review,
and approval of fiscal plans for covered territorial instrumentalities, requiring that (i) the proposed
fiscal plans be submitted to the Board; (ii) the Board must review the proposed plans and determine
either that it satisfies PROMESA’s requirements or that it does not, in which case, the Board must
issue a notice of violation and recommended revisions giving an opportunity to correct the violations;
(iii) revised proposed plans be then submitted to the Board; and (iv) if there is a failure to submit
timely a proposed plan the Board determines in its sole discretion satisfies PROMESA’s requirements,
the Board shall develop and submit to the Governor and the Legislature its own compliant fiscal plan;
and

WHEREAS, on March 13, 2017, the Board announced that it had received a proposed fiscal plan for
Puerto Rico Aqueduct and Sewer Authority (PRASA); and
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WHEREAS, after reviewing the proposed plan with the Governor’s representatives and analyzing and
deliberating over it with the Board’s members, economist, consultants, and attorneys, the Board
recommended revisions to the same and gave the Governor’s representatives the opportunity to
revise the proposed fiscal plan; and

WHEREAS representatives of the Governor and the Board’s experts, consultants, and attorneys
engaged in extensive discussions about the proposed fiscal plan and the Board’s concerns about the
plan, resulting in further changes incorporated into the proposed plan; and

WHEREAS, on April 28, 2017, the Board held an open meeting at which the Governor’s representatives
presented the final proposed fiscal plan to the Board and the public; and

WHEREAS the Board has had the opportunity to consider the latest proposed plan and discuss it with
its experts, consultants, and attorneys, and believes that, with certain amendments, the plan complies
with PROMESA; and

WHEREAS the Board provided an opportunity for public comment on the proposed fiscal plan and on
the Board’s recommended modifications to such fiscal plan; and

WHEREAS, after substantial deliberations, the Board has determined to approve and certify the latest
proposed fiscal plan, as modified by the following amendments:

PRASA Amendment No. 1:

   •   The fiscal plan must require implementation of a multi-year, permanent rate increase, that is
       broadly distributed across all customer types (including residential) and that takes into
       consideration income of customers. This increase must be a pre-approved measure effective
       from January 2018 through at least the following five years and be supported by a
       commitment from PRASA to a detailed implementation plan and schedule to be developed,
       including PRASA Board-led annual review of the rate increase, and provide authority for
       revisions as deemed necessary by such a review. The plan and the rate increase it achieves
       must confirm that the rate increase is directed to achieving structural balance and funding
       CAPEX needs, pre-debt service.

PRASA Amendment No. 2:

   •   The existing analysis addressing the impact on customer type and categories of consumption
       level must be updated to reflect the above refreshed rate proposal.

PRASA Amendment No. 3:

   •   The fiscal plan must include updated electricity savings in line with the Fiscal Plan submitted
       by PREPA and confirm the status of PREPA’s involvement in and collaboration with the
       hydroelectric initiative.
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Implementation Plan and Revised Fiscal Plan:

The Government shall present to the Board a plan to implement the above amendments by no later
than 30 days from the date of adoption of said amendments and a revised fiscal plan that complies
with the measures described in said amendments no later than 15 days thereafter, which revised
fiscal plan shall be subject to the Board's approval; and



NOW, THEREFORE, IT IS HEREBY RESOLVED THAT the Board approves and certifies the latest proposed
fiscal plan for PRASA pursuant to PROMESA § 201(e), as modified by the amendments described
above; and it is

FURTHER RESOLVED that the Board shall issue a compliance certification for such fiscal plan, as
amended, to the Governor and the Legislature pursuant to PROMESA § 201(e).



                                        RESOLUTION #5

WHEREAS, on June 30, 2016, the federal Puerto Rico Oversight, Management, and Economic Stability
Act (“PROMESA”) was enacted; and

WHEREAS section 101 of PROMESA created the Financial Oversight and Management Board for Puerto
Rico (“the Board”); and

WHEREAS section 201 of PROMESA establishes a multi-step procedure for the development, review,
and approval of fiscal plans for covered territorial instrumentalities, requiring that (i) the proposed
fiscal plans be submitted to the Board; (ii) the Board must review the proposed plans and determine
either that it satisfies PROMESA’s requirements or that it does not, in which case, the Board must
issue a notice of violation and recommended revisions giving an opportunity to correct the violations;
(iii) revised proposed plans be then submitted to the Board; and (iv) if there is a failure to submit
timely a proposed plan the Board determines in its sole discretion satisfies PROMESA’s requirements,
the Board shall develop and submit to the Governor and the Legislature its own compliant fiscal plan;
and

WHEREAS, on March 13, 2017, the Board announced that it had received a proposed fiscal plan for
Puerto Rico Electric Power Authority (PREPA); and

WHEREAS, after reviewing the proposed plan with the Governor’s representatives and analyzing and
deliberating over it with the Board’s members, economist, consultants, and attorneys, the Board
recommended revisions to the same and gave the Governor’s representatives the opportunity to
revise the proposed fiscal plan; and

WHEREAS representatives of the Governor and the Board’s experts, consultants, and attorneys
engaged in extensive discussions about the proposed fiscal plan and the Board’s concerns about the
plan, resulting in further changes incorporated into the proposed plan; and

WHEREAS, on April 28, 2017, the Board held an open meeting at which the Governor’s representatives
presented the final proposed fiscal plan to the Board and the public; and
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WHEREAS the Board has had the opportunity to consider the latest proposed plan and discuss it with
its experts, consultants, and attorneys, and believes that, with certain amendments, the plan complies
with PROMESA; and

WHEREAS the Board provided an opportunity for public comment on the proposed fiscal plan and on
the Board’s recommended modifications to such fiscal plan; and

WHEREAS, PREPA’s Fiscal Plan must provide for lower cost, reliable power that can support the
economic growth of Puerto Rico and is consistent with the assumptions included in the certified
Commonwealth Fiscal Plan; and

WHEREAS, PREPA’s Fiscal Plan projects a 23% reduction in energy sales and states that PREPA faces a
potential spiral of escalating rates and declining consumption. The Board believes PREPA’s projected
reduction in energy use is reasonable and that consumption could be even lower than PREPA
forecasts; and

WHEREAS, after substantial deliberations, the Board has determined to approve and certify the latest
proposed fiscal plan, as modified by the following amendments:

PREPA Amendment No. 1:

   •   Based on the review and analysis of the proposed fiscal plan, energy prices in comparable and
       competitor jurisdictions, and the best available projections, the Board believes PREPA's Fiscal
       Plan must be amended to contain achievable, credible, necessary changes to deliver energy to
       ratepayers at an average all-in rate of 21 cents per KwH by 2023 (the “Target Rate”). The
       Target Rate reflects the projections of demand, inflation, fuel prices and other external factors
       included in the fiscal plan. To the extent these factors are different in 2023, the target rate
       may need to be adjusted (e.g. higher fuel prices may require somewhat higher rates, higher
       demand may provide for lower rates).

   •   To deliver power at the Target Rate, PREPA will need to substantially lower the cost of
       generating power (fuel costs) and improve the distribution grid through unimpeded
       public/private partnerships agreements and/or fully privatizing energy generation subject to
       regulated utility standards.

   •   PREPA’s Fiscal Plan targets are amended consistent with the aforementioned goals, which
       shall be reflected in a revised Fiscal Plan document to be submitted to the Board within 15
       days of this certification. PREPA should also develop and submit to the Board a specific
       implementation plan within 45 days of this certification to deliver power to ratepayers at the
       Target Rate by 2023 through lower costs of generation and other efficiencies. The
       implementation plan should reflect:



           •   A clear path to realizing necessary capital improvements expeditiously, including a
               workable financing strategy for a credible capital expenditures plan that rapidly
               transitions the generation mix to lower cost power sources.
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            •   A detailed plan to implement public/private partnerships or full privatization for
                energy generation and to finance necessary improvements in the grid.

            •   Changes to improve operational efficiency and procurement practices, to lower
                pension costs, to reduce contract spending, and to lower other costs.

            •   Development and inclusion of a detailed elimination of the Contribution In Lieu of
                Taxes (CILT) to 0% within the next 3-5 years beyond the 15% reduction included within
                the PREPA Fiscal Plan.

            •   A review of assets that could be monetized, either in the context of public private
                partnerships or otherwise to fund necessary capital improvements.

PREPA Amendment No. 2:

    •   The PREPA Fiscal Plan is amended to include a requirement to provide to the Board within 30
        days of this certification a confirmation that the composition of its board shall be in
        compliance with the requirement that at least two thirds of its members meet the
        qualifications of independence and expertise in energy matters.

PREPA Amendment No. 3:

    •   The PREPA Fiscal Plan is amended to include a requirement to initiate a 60-day process to
        establish a mechanism for rate approval with the Energy Commission reflecting the Formula
        Rate Mechanism (FRM) and rate structures to be determined necessary to meet the amended
        fiscal plan Target Rate, which shall need to be consistent with the annual PREPA budgets to be
        certified by the Board. PREPA shall work with the Energy Commission and provide to the
        Board within 30 days of this certification an implementation plan for the FRM to be reviewed
        and approved by the Board before its submittal for approval by the Energy Commission.

Implementation Plan and Revised Fiscal Plan:

The Government shall present to the Board an implementation plan and a revised fiscal plan within
the time periods specified above, which revised fiscal plan shall be subject to the Board's approval;
and

NOW, THEREFORE, IT IS HEREBY RESOLVED THAT the Board approves and certifies the latest proposed
fiscal plan for PREPA pursuant to PROMESA § 201(e), as modified by the amendments described
above; and it is

FURTHER RESOLVED that the Board shall issue a compliance certification for such fiscal plan, as
amended, to the Governor and the Legislature pursuant to PROMESA § 201(e).
